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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


     Civil Action No. 18-cv-00888-LTB

     ARCHER HEALTHCARE, INC.
     f/k/a AOS RESEARCH, INC.

               Plaintiff

     v.

     JILL L. CUTHBERT-DUTCHER and
     QUESTRA MED COMMUNICATIONS, INC.

               Defendants


                       NOTICE OF DISMISSAL WITH PREJUDICE
                          PURSUANT TO F.R.C.P. 41(a)(1)(A)


               COMES NOW Archer Healthcare, Inc., by and through counsel J. Lucas

      McFarland of the law firm of Evans & McFarland, LLC, and submits this Notice of

      Dismissal With Prejudice Pursuant to F.R.C.P. 41(a)(1)(A), and states as follows:

               1.     Neither Defendant has filed an Answer or a Motion for Summary

      Judgment in this case.

               2.     The Parties have settled all disputes between them and have agreed to

      dismissal of this case with prejudice, each party to pay its own fees and costs.

               3.     As such Plaintiff Archer Healthcare provides notice pursuant to F.R.C.P.

      41(a)(1)(A) of dismissal of this case with prejudice, each party to pay its own fees and

      costs.
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             DATED this 11th day of May, 2018.

                                                   Respectfully submitted,

                                                   EVANS & MCFARLAND, LLC

                                           By:     s/ J. Lucas McFarland
                                                   J. Lucas McFarland
                                                   Evans & McFarland, LLC
                                                   910 13th St., #200
                                                   Golden, CO 80401
                                                   Telephone: 303.279.8300
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                                                   ATTORNEYS FOR PLAINTIFF




                                  CERTIFICATE OF SERVICE

             I hereby certify that on May 11, 2018, I electronically filed the foregoing
     NOTICE OF DISMISSAL WITH PREJUDICE PURSUANT TO F.R.C.P.
     41(a)(1)(A) with the Clerk of Court using the CM/ECF system, which will send
     notification of such filing to at least the following via e-mail:

            David P. Ferrell
            Nexsen Pruet, PLLC
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                                                           s/Gina Bowermaster
                                                           Gina Bowermaster




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